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More

Rafal B
@Maciej/M59499588

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@bitfinex

Document 255-1

EXHIBIT A

Filed 02/14/25 Page 1 of 20

We've stated several times that our Bitgo Implementation removed
hot/cold wallet as every user had their own wallet.

8:31 PM Aug 2, 2016

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@ Post your reply

Co X.com/bitfinex/status/745209233138933761

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Rafal B
(@Macle|MS9499588

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@bitfinax

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Absolutely not true. Especially considering we don't have the hot wallet
setup for btc anymore. We use segregated wallets

12:58 PM + Jun 21, 2016

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@ Post your reply

Page 7 of 26

Q Search

Relevant people

/ Bitfinex @ =p
@hitfinex

Bitfinex is the world's leading digital
asset trading platform, Telegram:
t.me/bitfinex

What's happening

Trending in Poland
USAID
2.01M posts

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Rowerzysta

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Juroszek

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What’s happening

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Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 3 of 20

EXHIBIT B

@ witfines - Features * ee *

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W Home Market Statistica § «© Security How works Features = Announcements Contect Us

Features

Cechusnge Exchange

Bitfines offers the most liquid exchange in ihe world, allowing users to easily exchange USD/BTC,
USDALTC, USDVETH, LTC/BTC, ETHADTC and with minimal slippage. We also boast a suite of onder
types to help traders take advantage of every sfiuation,

Margin Trading

Gitleves allows for users to trade with wo to 13s leverage by recetving funding from the peer to peer
margin funding pletion. Users can enter an order to borrow the desined amourt of funding al the
rate and duration of thew choice, or fey cen simply open a position and Betfings wil take out funding
foe them at the beat availatie rate at that trre

For more information oo our Margin Trading leature, please go to How It Works.

Margin Funding Market

The margin funding market provides anyone a low-rlak way to earn interest on their USD, BTC, LTC,
end ETH by providing funding to the usern wanting to trade with leverage, Users can offer funding ot
‘the rte and duration of their chotce, or they can simpty lend at the FRR (Flash Retum Rate), in
eddition users can Uae OF Auto-Aenew feature to renew thelr offers automatically upon expiry.

For more Information on our Margin Funding feature, please go to bce It Works,

 Bitlinex - Features x + “

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price,

* One Cancels Other (O00): This option allows you to place a pair of orders stipulating that If
one order is executed fully of partially, then the other order ia automatically canceled, An OCO
combines a stop order with o limit order, This option allows you to place both take profit and
stop loss targets for your position

* Post Only: “Post Only" limit orders are orders that allow you to be sure to always pay the maker
fee. When placed, a "Post Only” limit order is either inserted into the orderbook or cancelled
(only for firit orders).

« Hidden Order: A hidden order |s an order which does not appeer in the orderback, and thus
doesnt Influence other market participants, See the [ees page for minimum size and fee
applicable

Segregated Wallets

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Page 9 of 26
Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 4 of 20

#9 Witfinex - Our security practic: = +

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fl Home Market Statintice «= Security = How works «= Features «= Announcements Contect Us

& Security

Security of user information and funds Is our first priority.

Every detail is analyred to aved secunty holes. We pride ourtelvres on being the most necure Bitcom
exchange.

Mere in whey:

+ Induatry beading mufti-sig
+ Enhanced security policies provided by BitGo (/MeSu OA")
+ Segregated custorner wallets
“Verifiable on the Blockchaln

* Mutti-slg Hot wallet
= Provided by BitGo (Bitiia FAN)
- Only holds minimal amounts (~0.5% of evstomer funda)

© Always up-to-date Linus systems to hoat the platform
Our servers network la protected using always up-to-date software and the bes! posaiile
practions

«+ Advanced ecoount protection
We offer two options to secure your account: Two-factor authentication (2FA) taken and SMS
h lon to validate your
We have advanced verification tools to try and detect if your account ls compromised

* Advanced API key permissions
Create API keya with advanced read/write permissions on a per-feature basis, Unleash the full
power of the platform through our REST and WebSockets APIs,

* Automatic backup of thé database once a day

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#) Bitfinex- Bitfinex TermaofSe ok

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A Home «= Market Stativtics «== Security «How Mererke «= Features «© Announcements Contact Us

(4) Terms of Service

Thank pou for choosing Bitfines com (the ‘Site"). The folowing terns and conditions of sevice (these “Terms of Service) apply to customers of the Site. Sorne of these Terma
of Service will apaly only to.U.S. Persons (a9 defined below) using the Site Others apgly to al! users of the Site, You should read these Terma of Service cerefully to determine
which provisions apely to you Dy using any of the services, functions, of features offered from time to time on the Site (todecthvely or individually. the "Sarvices"), the custoner
(referred to herein a8 “you ot "your" agrees to these Terma of Service

These Terma of Service he agreement end 9 with respect to the use of any or all of the Services, and any manner cf accessing them, among: you BINGO,
ing. (BGo"), the company providing idvidualized, multi signature wallets On the Site: and, one of the following parties:

8) where you are a U.S. Person, BFANA Inc. [BFXNA’), and,
bb) where you are not a US. Person, Fines inc. Sines”),

For the avoidance of doubt, thene Terma of Service have three parties: you, GitGo, and either BFANA of IFinex. By using the Services, you agree to BitGc's Terma of Line, whieh

ave incorporated Into these Terra of Service by reference, The following Site policies and pages are also incorporated Into these Terma of Service by reference: Privacy Molicy,
Rist Glechowure Statement; An am Pebey, and Law Envorcenent Mequeata Mobcy. in the event of any inconsistency between these Terma of Service and any other pages or
Policies on the Site, theee Terma of Service shall prevall

By creating an ecomund on the Site or by using any of the Services, you that you hawe madd, and p y agree to these Tere of Service in effect
from tiene to time. I! you disagree with these Terma of Service or with ayy subsequent amendments, changes, of updates, you may not use any of the Services, your onty
recourse in the case of disagreement is to stop using all of the Services and close your aceounti's) on the Site.

These Terms of Service may be amended, changed, or updated by BFXNA or iFinex, as applicable, without pror notice to you, You should check back ofren ta confirm that your
copy and understanding of (hee Terme cf Service is current and Your or duse of any Services after the effective date of any amendments,

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Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 5 of 20

#7 Bitfinex - Bitfinex Terms of Su xX v

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‘You can use the trading features of the Trading Order Book through your ‘Exchange Wallet.’ You may access te Funding Order Blook through your Trading Wallet"
Finally, you may deposit funds to Bitfines using your Deposit Wallet’

4 Agency: Neither Bitfinex not BUGo ects a6 principals, counterparties, of markot-makers In the transactions effected through trading on Bilfines or in providing
financing for financed trading on Bitfinex. However, Bitfinex administers and enforces contracts among parties engaged in financing activities on the Sita, You hereby
Itrevocably appoint Bitfinex to act ea your exclusive agent in respect of any contract on the Site in which you are a Financing Recipient. Specifically, you hereby grant
Bitfines agency, and you authorize and instruct Bitfinex. to implement, levy, monitor, and maintain a ben on all fiat amounts and Digital Tokens in your name of control
on the Site in favor of one of more Financing Providers (a “Lien’); and, to liquicate any Digital Tokens in your name of control on the Site if necessary to ensure that
any Financing Provider on the Stte from whom you have obtained financing is repatd in full

§ Wolbets, Key Distributions A Bitgo:

6,1 Multi-Signature Wallet Key Distribution: Mutti-Signature Wallets require multiple permiasiona—through private keys=to transmit funds from a bitcoin wallet. In
6 troditional bitcoin wallet, each address In that wallet has one associated private key that veats full power In the key holder to sign for and tranamit funda
from that address, So-called "m af n* multi-signature addresses allow for bitcoin addresses with two of more (n) associated private heya which can be
configured to require some subset of them in order to algn transactions from those addresses, For example, eoch Mult+Signature Walle! is built ona ‘2 of F
mult}-signature configuration, there are three associated private keys, and any two of those keys can sign for q the of
the private keys and subject to any valid lena, encumbrances, end pending sertiements, ill BAESInS fi your Muni Sign ature Wallets Bélond (8 lind arW owned
by you, You may, et any time, withdrew bitcoins from yout Mult-Signature Wallet to the extent thot they are not encumbered by any Liens. You agree thet you
will nol withdraw any amount or bitcoins from the Site that are subject fo of encumbered by any Lien, and agree to allow Bitfinex to block a withdrawal, ag
appropriate, for Encumbered Wallets.

§.2 U.S. Persons Engaged in Financing: if you ere a verified U.S. Person engaged in financing on the Site, your fi a will be through
Encumbered Wallets, One private key for each Encumbered Wallet is distributed to each of you, BFXNA, and BitGo, For the avoidance of doubt, this structure
applies only to wallets of verified U.S. Persons comtalning bitcolng subject to one of more Liens. One key should be In your exclusive contro! at all times.

53) Other Wallets: if you are not « U5, Person but are engaged In financing on the Site, or If you are a U.S. Person not engaged in financing on the Site, your
(transactions on the Site will be undertaken through Unencumbered Wallets. Two private keys for each bored Wallet are distributed to Batfines and
one private key is distributed to BitGo. With respect to the Bithines private keys, one private key ia on operational key and one in a backup key. The backup hey
la broken up into multiple parts and requires multiple agents of Bitfines in order to reconstruct i.

54 BNGo's Role: BitGo provides certain services to Bitfinex. In connection with ity provision of those services to Bitfinex, BitGo holds one private key for eoch
Muhi-Signature Wallet and uses thoee keys to sign transactions an directed by Bitfinex, Unieas compelled by an arbitrator of otherwise required by applicable
law, BitGo will only use a private key to sign a Multi+Signature Wallet tangaction that is firat signed by Bitfinex. For tha di of doubt, you ack ledg:
understand, and ogree thet BitGo will not use any private key Mt holds to co-sign mult-slgnature transections as directed by you without the consent of Bitfinex
unless compelled by an arbitrator under these Terms of Service,

5.5 Instructing BNGo: In the event of any dispute or disagreement between you and BFXNA ea to claims on the bitcoins in an Encumbered Wallet, you may
Instruct BitGe to stop waing the private key held by BNGo to tign from the E: ‘Wallet by using [he credentials communiceted to you by
BitGo to access the Encumbered Wallet interface on BitGo and clicking on the “freeze wallet” button, After contacting BitGo, you may agree and settle any
dispute with BFXNA of you may compel BFXNA, you, and BitGo to submit to arbitration an set out in these Terma of Service, wherein the merite of any
Competing arguments and claims about the biicolne in the Encumbered Wallet shall be finally and conclusively resolved, Any coats of BitGo sasociated with
ony customer complaint of instructions to BGo (separate and apart from arbitral proceedings, if any) shall be borne by the complaining of instructing
customer. Any costs of DF XNA lated with any oF fo BFXNA ( and apart fom arbitral proceedings, if any) shall

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Txid and Bitcoin Auuiesses Culnrecicu. 1v The Bitfinex Theft

we r/Bitcoin

Alot of people have requested a list of addresses and transactions related to the theft. | bolieve there are already
lists out thera as several people have sent me some, but here is an official ane:

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We'll continue to post updates as thay become availabie.

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Sot by: Best ~

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I made p wallotdat that has all hase addresses In ‘watehonly’ mode, so you can watch If and when the
attacker spends his ill-gotten gains

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e Tanetackett OP «Gyr ego

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Page 11 of 26

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Other Bitcoin Sites +

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EXHIBIT C

902.2025, 19:08 Biclenin Mail - [Ditfinex status] Investigating ; Security Breach

he Gmail Rafat Bielenia <rafal@bielenia.pI>

[Bitfinex status] Investigating : Security Breach

noreply@statuspage.io <noreply@statuspage.io> Tue, Aug 2, 2016 at 8:06 PM
To: rafal@bielenia.pl

Security Breach
Incident Report for Bitfinex

Investigating

Today we discovered a security breach that requires us to halt all trading on
Bitfinex, as well as halt all digital token deposits to and withdrawals from Bitfinex.

We are investigating the breach to determine what happened, but we know that
some of our users have had their bitcoins stolen. We are undertaking a review to
determine which users have been affected by the breach. While we conduct this
initial investigation and secure our environment, bitfinex.com will be taken down
and the maintenance page will be left up.

The theft is being reported to—and we are co-operating with—taw enforcement.

As we account for individualized customer losses, we may need to settle open
margin positions, associated financing, and/or collateral affected by the breach.
Any settlements will be at the current market prices as of 18:00 UTC. We are
taking this necessary accounting step to normalize account balances with the
objective of resuming operations. We will look at various options to address
customer losses later in the investigation. While we are halting all operations at
this time, we can confirm that the breach was limited to bitcoin wallets; the other
digital tokens traded on Bitfinex are unaffected.

We will post updates as and when appropriate on our status page
(Bitfinex.statuspage.io) and on the maintenance page. We are deeply concerned
about this issue and we are committing every resource to try to resolve it. We ask
for the community's patience as we unravel the causes and consequences of this
breach.

Aug 2, 18:06 UTC

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902.2025, 19:08 Bielenia Mail - (Bitfinex status) Investlguting : Security Breach
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Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 8 of 20

10.02.2025, 12:18 Hielenia Mail - [Bitfinex status] Update : Security Breach

Ry; Gmail Rafat Bielenia <rafal@bielenia.p|>

[Bitfinex status] Update : Security Breach

noreply@statuspage.lo <noreply@statuspage.io> Wed, Aug 3, 2016 at 7:43 PM
To: rafal@bielenia.p!

Security Breach
Incident Report for Bitfinex

An Incident Update Has Been Posted

As it stands, we are continuing to investigate the hack and cooperating with
authorities and the top blockchain analytic companies in the space to track
the stolen bitcoins. In the meantime, we have been working on getting the
platform up and running on a secure instance so that users can log in and
see if their accounts have been affected as well as the state of their
positions and orders. We hope to have an update with more substance
later today UTC time.

Aug 3, 17:43 UTC

PREVIOUS UPDATES

Investigating

Today we discovered a security breach that requires us to halt all trading on Bitfinex, as well
as halt all digital token deposits to and withdrawals from Bitfinex.

We are investigating the breach to determine what happened, but we know that some of our
users have had their bitcoins stolen. We are undertaking a review to determine which users
have been affected by the breach. While we conduct this initial investigation and secure our
environment, bitfinex.com will be taken down and the maintenance page will be left up.

The theft is being reported to—and we are co-operating with—law enforcement.

As we account for individualized customer losses, we may need to settle open margin
positions, associated financing, and/or collateral affected by the breach. Any settlements will
be at the current market prices as of 18:00 UTC. We are taking this necessary accounting
step to normalize account balances with the objective of resuming operations. We will look at
various options to address customer losses later in the investigation. While we are halting all
operations at this time, we can confirm that the breach was limited to bitcoin wallets; the other

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Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 9 of 20

10.02.2025, 12:18 Bielenia Mail - [Bitfinex status) Update : Security Breach
digital tokens traded on Bitfinex are unaffected.

We will post updates as and when appropriate on our status page (Bitfinex.statuspage.io) and
on the maintenance page. We are deeply concerned about this issue and we are committing
every resource to try to resolve it. We ask for the community's patience as we unravel the
causes and consequences of this breach.

Our representative, Zane Tackett, will be posting updates on reddit (/u/zanetackett)
Aug 2, 18:06 UTC

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noreply@statuspage.io <noreply@statuspage.io>

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Bielenia Mail - |Bitfinex status] Monitoring : Bitfinex Interim Update

Gmail

x status] Monitoring : Bitfinex Interim Update

To: rafal@bielenia.p!

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Bitfinex Interim Update

Incident Report for Bitfinex

New Incident Status: Monitoring

Interim Announcement
August 6, 2016

Following the theft on August 2nd, the Bitfinex team has been working tirelessly
towards bringing the platform back online in a secure and controlled manner. We
have finalized the accounting of losses incurred and are currently coordinating
strategic plans for compensating customers.

We intend to come online within 24-48 hours with limited platform functionality.
Additional announcements will be made as we progressively enable more
platform features and return to full operations. We appreciate that our customers
and the public want this handled quickly, but it needs to be done a way in which
all assets are secure and immune from vulnerabilities. Every resource is being
leveraged to make that happen in a safe and optimal way.

As disclosed in earlier announcements, all withdrawals, open orders, and open
funding offers have been cancelled and all financed positions have been settled.
Exact settlement prices were published on August 3rd.

After much thought, analysis, and consultation, we have arrived at the conclusion
that losses must be generalized across all accounts and assets. This is the
closest approximation to what would happen in a liquidation context. Upon
logging into the platform, customers will see that they have experienced a
generalized loss percentage of 36.067%. In a later announcement we will explain
in full detail the methodology used to compute these losses.

We are actively discussing various strategic options with numerous potential
investors as part of our strategy to fully compensate our customers. Such

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Rafat Bielenia <rafal@bielenia.p|>

Sat, Aug 6, 2016 at 6:02 PM
Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 11 of 20

9,02.2025, 19:09 Bielenia Mail - [Bitfinex status] Monitoring : Bitfinex Interim Update
discussions, however, are in early stages and will likely take time to play out. In
the meantime, In place of the loss in each wallet, we are crediting a token labeled
BFX to record each customer's discrete losses. Tokens will be distributed without
release or waiver. The BFX tokens will remain outstanding until redeemed in full
by Bitfinex or possibly exchanged—upon the creditor's request and Bitfinex’s
acceptance—for shares of iFinex Inc. We are still sorting out many details on this;
we will post further updates in the coming days.

Thank you for your continued patience and for the many generous offers of
support that we have received over the last several days. Notwithstanding this
attack, we continue to believe in the possibilities associated with bitcoin. We will
continue to update our customers and the public as and when we can.

Aug 6, 16:02 UTC

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Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 12 of 20

902.2025, 19:10

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[Bitfine

noreply@statuspage.lo <noreply@statuspage.io>

Bielenia Mail - [Bitfinex status] Identified ; Site Relaunch

Gmail Rafa! Bielenia <rafal@bielenia.p|>

x Status] Identified : Site Relaunch

To: rafal@bielenia.pl

Site Relaunch
Incident Report for Bitfinex

New Incident Status: Identified
Site Relaunch

We are beginning the process of bringing the platform online in a controlled and
secure way. Currently the site is available on a read-only basis as we continue to
work towards enabling full functionality. This means that users will be able to log
into their accounts but trading, depositing, and withdrawing will remain disabled at
this time.

Please be aware of the following changes required by the ongoing platform
recovery:

Users will be required to reset their password.

Users will be required to reset their 2FA, if applicable.

Clef has been disabled for all accounts. We have reset our security keys with
Clef, requiring users to re-enroll.

All API keys have been revoked. The creation of new API keys will be re-enabled
within the next 48 hours.

Please take this time to log in and review your account and balances, taking note
of the adjustments caused by the closing of open margin positions and the
application of the Extraordinary Loss Adjustment. The loss adjustment is
represented by your balance in “BFX" tokens which are priced at 1.00 USD until
we are able to allow trading of that token, likely within the next week. The trading
of BFX tokens may be restricted for US customers.

Full platform functionality will come online in progressive steps in the coming
days. Withdrawing, depositing and exchange trading will come online first, with
margin trading (for non-US customers) to resume sometime after that. Further
announcements will be made when the schedule for turning on those features is
finalized. Once again, we thank you for your patience.

The Bitfinex Team

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Mon, Aug 8, 2016 at 2:07 AM
Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 13 of 20

902.2025, 19:10 Bielenia Mail - [Bitfinex status] Identified : Site Relaunch

On-page notifications on the trading pages:

> Trading, depositing, and withdrawing are temporarily disabled. We will be
enabling full platform functionality in the coming days. Thank you for your
patience.

Aug 8, 00:07 UTC

View status page or unsubscribe from these emaits.
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Case 1:23-cr-00239-CKK Document 255-1 Filed 02/14/25 Page 14 of 20

902.2025, 19:11 Bielenia Mail - [Bitfinex status] Monitoring : Site Relaunch

iv; Gmail Rafat Blelonia <rafal@bletenta.pi>

[Bitfinex status] Monitoring : Site Relaunch

noreply@statuspage.lo <noreply@staluspage.lo> :
Tor ratelepbistentess pag Wed, Aug 10, 2016 at 4:04 PM

Site Relaunch
Incident Report for Bitfinex

New Incident Status: Monitoring

Today, August 10th, 2016, at 16:00:00 UTC we will be enabling additional
platform features as we continue to restore service after the incident on August
2nd. Exchange trading will be enabled for all currencies and pairs, while deposits
and withdrawals will be enabled for BTC, ETC, ETH, and USD - with LTC and

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vie 16. yer to allow. withdrawaléifor:the GFX token but ween
Worklnigiout soreiprotocel levalidetalis: Please note that U.S. residents will only
be able to sell—not buy—BFX tokens at this time. Terms for the BFX token are
available here. Requirements for token transfers are here. Parameters for
assigning Margin Trading will be re-enabled for non-U.S. residents later this
week.

In the past week, we have taken significant steps to ensure that we can restore
service in a secure environment. We have added additional platform and
infrastructure security checks; regenerated all encrypted services, including
wallets, security tokens, and passwords; moved funds to multisig cold storage; re-
evaluated all third-party integrations; performed a comprehensive system audit in
order to identify vulnerabilities; and, rebuilt our entire platform on new
infrastructure.

Please note that we have invalidated all deposit addresses that were generated
before August 9 19:00:00 UTC for all cryptocurrencies except Tether USDT.
Please do not deposit to these older addresses as this will cause substantial
delay in deposit processing. All deposit addresses now shown on the site or
generated by the API are the new addresses. Please be sure to use these new
deposit addresses when depositing cryptocurrencies.

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9.022025, 19:1] Bielenia Mail - [Bitfinex status) Monitoring : Site Relaunch
We are aware that many questions remain and we intend to discuss the theft, the
distribution of losses, and our recovery plan in follow-up announcements. We are
trying to be as transparent as we can be while we continue to try to make the best
of a terrible situation. We regret the loss that took place, but we continue to
remain confident in Bitcoin, the trading community, and our plan to compensate
our customers. As always, we remain open to constructive commentary and
suggestions from ail sides.

Aug 10, 14:04 UTC

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902. i
2025, 19:11 Bielenia Mail - Update from Bitfinex CEO, Jean Louis van der Velde - Aug 27 04:05 AM

ij Gmail Rafat Bietenia <rafal@bielenia.pi>

Update from Bitfinex CEO, Jean Louis van der Velde - Aug 27 04:05 AM

Bitfinex <admin@bitfinex.com>
vor ratalgton tens Sat, Aug 27, 2016 at 4:05 AM

BITFINE XY

Update from Bitfinex CEO, Jean Louis van der Velde

Dear Customer,

As you are probably aware, Bitfinex suffered a security breach on August 2nd. On
behalf of the entire Bitfinex team, | want to thank you for your patience during the
time when we were offline and for your continued support during our recovery to
complete, secure operation.

Throughout the incident and recovery we have been posting updates on our
announcements page and biog, but | also wanted to take a moment to reach out to
you directly.

As the CEO, | first and foremost would like to express my deepest sympathy for
those affected by the security breach. | am resolved to regain your trust in our
platform, and | want to discuss the initiatives we are exploring so that we can make
our users whole.

What follows is an overview of the incident, an outline of the progress we have made
so far, and details regarding our plans for the future — including our plans to
compensate users affected by the breach.

Overview

The Bitfinex trading platform suffered a security breach and theft on August 2, 2016
which required us to halt all platform operations. At 12:27 UTC we froze all wallets
across the platform, canceled outstanding withdrawals, and stopped crediting
deposits.

Immediately thereafter we engaged several companies to assist in tracing the stolen
bitcoin and began conducting a security audit to find potential exploits and determine
the scope of the hack. We contacted the FBI and European authorities and have

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Case 1:23-cr-00239-CKK Document 255-1

Btchats tat. Updene temp Ricfnea COO, bmn Lea's van chee Velde - Ang Z7O105 AM
been cooperating with them in ongoing invastgations.

At approximately 18:00 UTC, al ato cperations were hated and a notice was
posted. Al open orders and margin funding offers waro cancolled and epen margin
posliens wore sotticd using priece provalling at the tine trading was suspandod.
More dotals rogarding tho exact prices usod can be found in that particular
@nnouncement on August 3rd,

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Cppredina Sortie wal wad PLD NL TQUEGTION cording: Looking et yout
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SimTa to redeem 6] outatanding Rone at thelr fll fave, verve;

{a ordes to receem these tokens, we are exploring several options: (1} tha recovery
of the stolen coins; (2) outside investment In Bitfinex; (3) operating our trading
platform with periodic redemption of the tokens issucd and outstanding; (4)
exchanging BFX for aquily in Bitfinex.

With respect to timo, optons (1), (2), and (4) woukd moan a rolativaly quick
redemption of the BFX tokens; option (3) would take longer. Further information
fogesding the BFX tokens are availabe here on tho ate.

For option (4), above, wo have begun working with AnkTaThaFuture, BFX Trust, and
other groups to ig: ce ot ng BFX tokens to Grinex equity, As

you can tmagino, because we operate a company with in
Mutt pe counties this is nat a atraightfonvard process, but our goal is to give a3
many BFX token hotders as p the ebiity to p pate. Vie are siilin the early

stagen of this process and | ask for your patience as this develops.

Rolaunch

After tho indont on Auguat 2nd, the platform was ro-taunched In etagea: On August
Tih, tha toamn brought tho sito up In a read-enly mode so utara coud login and visw
the alates cf their ecoounts. On Augusi 10th, we J fh

and exchange tracing tor all pairs. A! that time we made two now pa‘rs avaliablo -
BFX/USD and BFX/BTG - 90 that you can oxchange tho now BFX tokens for BTC or

003 TK. 19 0t

Filed 02/14/25 Page 17 of 20

Opens Waldo - cg 17 0805 AMM
USD if you wish. Two days tatar, on August 12th, we re-enabled masgin acing for
non-US, residents.

(n tho cigh! days tha platform was offing, tho t2am moved al funds to cotd walicia,
comptctoly rebuil our Servers, moved datacenters, end ran a number cf eccurtty
chocks In conjunction with Lodger Labs baforo boing aatisfied that 4 would bo sate to
being the Bitfinex ptattorm back enEne. Even though there [a no evidence indicating
user date ws sto"cn, wo aro requiring thal a3 users change the! pasaword and two-
facter aaa lonary Noto that during our platiorm
tobulld wo rag: deposit tor al Ptease only deposit to
sddressos croaicd after August 7th.

For moro ¢ctzits about the incident piosse retort the answers to these most
common questions,

Moving Forward

Despite the difficu’ situation, | am proud of how our manogemont, technical,
operation, and support laame have rosponded. | bellova that wo have mado the best
possibio decxs:ons in recovering and moving forward. | alo wart to sincerely thank
our users and thease in tha community who have been aupportive during this ditficut

‘Fhore is sti! much to do, but in the coming ecoks we rill continue to demonstrate
our commiment to our user and our resourantuinass in making them whole. tt is our
goal to redeem af BFX tokens aa quickly and ¥ 08 We will

to press forward and wo wil kocp you informod a8 wo progress.

Wo havo partnered with Lodger Labs to azsiat tn porforming a comprehanolvo
security aud’ ahd we wi publzh a revised socurtty policy summary in the coming
wooks Thoro are other initiatives in progress, however at th's stage wo cannct givo
out garding ongoing |: 9 ‘with third party consultancies and
law onforcament egenctes.

Wo ora dcepty grateful to a! of our users fox thelr conned support and to tiose
thet continue to trade with Gitfinex, thua enabling us to be optinistic regamting cut
goat to repay avaryone that auflered losses. Wo wit to Eaten to

edvics and suggestions and cur support team wid bo happy to hear trom you in this
togard.

Swncerety,
Jaan Louis van det Vaide, CEO

Regerds,
‘Tho Siinex Team

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9,02.2025, 19:11 Bielenia Mail - Update from Bitfinex CEO, Jean Louis van der Velde - Aug 27 04:05 AM
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Mobile apps now available

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At 20:00:00 UTC, #B8itfinex will be redeeming 100% of all currently
issued and outstanding BFX tokens. See announcement for more
details.

8:28 PM: Aprd, 2017

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Messages
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asset trading platform. Telegram:

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Conversations
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